                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

 FEDERAL TRADE COMMISSION, et al.,             )
                                               )
                       Plaintiffs,             )
                                               )
 v.                                            )    Case No. 4:18-CV-00128-DGK
                                               )
 NEXT-GEN, INC., et al.,                       )
                                               )
                       Defendants.             )

       ORDER GRANTING TEMPORARY RECEIVER’S MOTION FOR FEES AND
      EXPENSES FROM SEPTEMBER 1, 2018, THROUGH DECEMBER 31, 2018, AND
                  DENYING A REQUESTED RATE INCREASE

        Now before the Court is the Temporary Receiver’s Second Application for Allowance of

Compensation for Services Rendered and Reimbursement of Actual and Necessary Expenses for

the Period September 1, 2018, through December 31, 2018, and Request to Increase Billing Rates

for 2019 (Doc. 254) as amended by the Corrective Supplement (Doc. 258) (collectively, the

“Amended Motion”). The Amended Motion requests: (1) authorization to pay professional fees

(Temporary Receiver, legal, accounting, computer services, etc.) of $489.748.99 and

reimbursement expenses of $14,562.25; (2) authorization for the Temporary Receiver to transfer

funds to the Temporary Receiver’s disbursement account in which to cover approved receiver and

professional fees; and (3) authorization for a proposed rate increase. No party has filed any

objection or other response to the motion.

        After carefully considering the request, the Amended Motion is GRANTED IN PART and

DENIED IN PART.

        On July 17, 2018, this Court entered a Temporary Restraining Order (“TRO”) (Doc. 98).

Among other things, the TRO appointed Eric Johnson as Temporary Receiver of the Receivership




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Entities1 in this case. Id. at 14. The TRO provided that the “Receiver and all personnel hired by

the Receiver . . . are entitled to reasonable compensation for the performance of duties pursuant to

this Order and for the cost of actual out-of-pocket expenses incurred by them, from the Assets now

held by, in the possession or control of, or which may be received by, the Receivership Entities.”

Id. at 24.

         On November 6, 2018, the Court granted the Temporary Receiver’s First Application for

Allowance of Compensation for Services Rendered and Reimbursement of Actual and Necessary

Expenses for the Period July 17, 2018 through August 31, 2018. This application was for services

furnished by the Temporary Receiver and his retained professionals incurred in performing tasks

required by the TRO. The Court approved payment of the following amounts from receivership

assets: (1) $58,616.00 in fees to the Temporary Receiver; (2) $180,648.50 in fees, plus $10,243.31

in expenses, to the Temporary Receiver’s attorneys Spencer Fane LLP (“Spencer Fane”); (3)

$20,790.00 in fees, plus $9,350.00 in expenses, to UnitedLex Corporation (“UnitedLex”) for

computer services; and (4) $1,961.28 in fees to RubinBrown LLP (“RubinBrown”). Order at 3

(Doc. 226). The total amount approved was $222,993.09.

         The Temporary Receiver now moves for an award of professional fees and expenses

incurred from September 1, 2018, through December 31, 2018. The amended motion seeks: (1)

$142,077.25 in fees for the Temporary Receiver; (2) $233,633.20 in fees, plus $10,862.25 in

expenses, for Spencer Fane; (3) $88,736.99 in fees to RubinBrown; (4) $21,480.00 in fees, plus

$3,700.00 in expenses, for UnitedLex; and (5) $3,821.55 in fees and expenses for Rox’s Images.

The total amount of fees and expenses requested is $504,311.24.


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  The TRO defines a Receivership Entity as any corporate Defendant, and “any other entity that has conducted any
business related to the Defendants’ distribution of deceptive sweepstakes or other prize mailers, including receipt of
Assets derived from any activity that is the subject of the Complaint in this matter, and that the Receiver determines
is controlled or owned by any Defendant.” TRO at 4-5.


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       The requests covers a wide variety of services and costs incurred by the Temporary

Receiver and his retained professionals on behalf of the Receivership Entities, including, but not

limited to: maintaining a chain of custody for the estate property, securing the Receivership

Entities’ primary business premises, managing the Receivership Entities’ assets, conducting a

privilege review of documents at a facility, ensuring compliance with the asset freeze, researching

and properly terminating all of the various Employee Benefit Plans and 401(k) plans, and

consulting with the parties and the Court.

       After reviewing the record, the Court finds this portion of the motion should be granted.

First, the total amount of fees and expenses requested is reasonable given the complex nature of

this case, the numerous tasks performed by the Temporary Receiver, and the complexity of these

tasks. Second, the requested hourly rates are not unreasonable. Third, the fact that no opposition

or other response has been filed supports a finding that the amount of fees and expenses are

reasonable.

       The portion of the motion seeking pre-approval to increase the rates charged by Spencer

Fane, however, will not be approved. The rates the Court will pay for legal services are those it

previously approved as fair and reasonable, that is, the 2018 rates.

       Accordingly, the Amended Motion is GRANTED IN PART. It is ORDERED that the

Temporary Receiver may pay the following amounts from receivership assets:

       (1) $142,077.25 in fees for the Temporary Receiver;

       (2) $233,633.20 in fees, plus $10,862.25 in expenses, for Spencer Fane;

       (3) $88,736.99 in fees to RubinBrown;

       (4) $21,480.00 in fees, plus $3,700.00 in expenses, for UnitedLex; and

       (5) $3,821.55 in fees and expenses for Rox’s Images.




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       IT IS FURTHER ORDERED that the Temporary Receiver is authorized to transfer funds

to the Temporary Receiver’s disbursement account in which to cover these payments.

       The Temporary Receiver’s request to increase the rates paid to Spencer Fane is DENIED.

       IT IS SO ORDERED.

Date: September 30, 2019                          /s/ Greg Kays
                                                  GREG KAYS, JUDGE
                                                  UNITED STATES DISTRICT COURT




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